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 1
 2              UNITED STATES DISTRICT COURT WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 3
 4
         UNITED STATES OF AMERICA,
 5                                                     Case No. CR11-5305BHS
                               Plaintiff,
 6                                                     INITIAL ORDER RE: ALLEGATIONS
                        v.                             OF VIOLATION OF CONDITIONS
 7                                                     OF SUPERVISION BY UNITED
         JOHN MARCUS MCCRORY,                          STATES PROBATION OFFICE
 8
                               Defendant.
 9
10
11          THIS MATTER comes on for hearing on the Petition of the United States Probation Office
     alleging that the defendant has violated the conditions of supervision.
12
                The plaintiff appears through Special/Assistant US Attorney, MARC PEREZ:
13
                The defendant appears personally and represented by counsel, CHARLES JOHNSTON:
14
           The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
15   supervision; the defendant has been advised of the allegation(s) and maximum potential sanction if
     substantiated; and the court finding probable cause with regard to the alleged violation(s);
16
                The matter is scheduled for hearing before the Honorable BENJAMIN H SETTLE:
17
                             Date: AUGUST 21, 2012
18
                             Time: 2:30 P.M.
19
     (   ) Defendant is released pending the above scheduled hearing.
20
     ( X ) Defendant is ordered detained for failing to show that he/she will not flee or pose a danger to any
21   other person or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
     by the court for further proceedings.
22
           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
23   defendant, the United States Marshal and to the United States Probation Office. This Order is entered
     without prejudice to review.
24
                                                        July 26, 2012.
25
26                                                      A
                                                        J. Richard Creatura
27                                                      United States Magistrate Judge

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     ORDER
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